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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

   ____________________________
                               :
   NATIONAL UNION FIRE         :
   INSURANCE COMPANY OF        :
   PITTSBURGH, PA, et al.,
                               :
           Plaintiffs,         :         Civ. 20-14689 (JHR)(SAK)
                               :
      v.                       :
                               :         ORDER DISMISSING ACTION
   ABC BUS COMPANIES, INC.,    :
   et al.,                     :
                               :
           Defendants.         :
   ___________________________ :

      This matter having been reported settled and the Court

having administratively terminated the action for sixty (60)

days so that the parties could submit the papers necessary to

terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ.

R. 41.1, and the sixty-day time period having passed without the

Court having received the necessary papers;

      IT IS on this 18th day of      February   , 2022

      ORDERED that the Clerk of the Court shall reopen the case

and make a new and separate docket entry reading “CIVIL CASE

REOPENED”; and it is further

      ORDERED that this matter be, and the same hereby is,

DISMISSED WITH PREJUDICE, and without costs pursuant to Fed. R.

Civ. P. 41(a)(2).

                                         s/Joseph H. Rodriguez
                                         United States District Judge
